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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MARYLAND

IN RE:                                      )
                                            )      Case No.: 20-10883
KEMPES JEAN                                 )      (Chapter 7)
LORI LEE JEAN                               )
                      Debtors               )
                                            )


                        LINE FILING SUPPLEMENTAL EXHIBIT


              KEMPES JEAN and LORI LEE JEAN ("Debtors"), by and through their

undersigned counsel John D. Burns, file this Line with attached Supplemental Exhibit, which is a

text from May 11, 2020 from Jose Mario Regalado Padilla to Kempes Jean.

                                                   Respectfully Submitted,
                                                   --------/S/ John D. Burns --------
                                                   ______________________________
                                                   John D. Burns, Esq. (#22777)
                                                   The Burns Law Firm, LLC
                                                   6303 Ivy Lane, Suite 102
                                                   Greenbelt, MD 20770
                                                   (301) 441-8780
                                                   info@burnsbankruptcyfirm.com
                                                   Counsel to the Debtors
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                                CERTIFICATE OF SERVICE

                I hereby certify that on this 12th day of August, 2021, a copy of the foregoing
Line with attached supplemental exhibit was served upon:

VIA ECF:
Office of the United States Trustee
6305 Ivy Lane; Suite 600
Greenbelt, MD 20770

Roger Schlossberg, Esq.
Counsel for the Chapter 7 Trustee
18421 Henson Blvd., Suite 201
Hagerstown, MD 21742

All ECF Registered Recipients

VIA ELECTRONIC MAIL:
Kempes Jean and Lori Lee Jean

                                                     --------/S/ John D. Burns--------------
                                                     _________________________________
                                                     John D. Burns, Esquire
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